19-13895-jlg    Doc 256      Filed 06/05/20 Entered 06/05/20 19:15:19               Main Document
                                          Pg 1 of 2

                       EMMET, MARVIN & MARTIN, LLP
                                  COUNSELLORS AT LAW
                                                                                                     John Dellaportas
                                    120 Broadway 32nd Floor                                                   Partner
                                  New York, New York 10271                                          Tel: 212-238-3092
                                         212-238-3000                       Fax: 212-238-3100 Fax (alt.) 212-406-6953
                                                                                       jdellaportas@emmetmarvin.com
                                   www.emmetmarvin.com



                                                  June 5, 2020

   Via ECF

   Honorable James J. Garrity, Jr.
   United States Bankruptcy Court
   Southern District of New York
   One Bowling Green
   New York, NY 10004-1408

          RE: In re Orly Genger, Case No.: 19-13895-jlg

   Dear Judge Garrity:

           We represent creditor Sagi Genger. While we are loath to add to the plague of
   letter-writing in this case, we feel compelled to correct certain mischaracterizations in last
   night’s letter from Mr. Oswald, counsel to Arie Genger (Doc. 255).

            In his letter, Mr. Oswald--who, to our knowledge, was not involved in the case prior
   to the transfer to New York--objects to our prior statement that: “a proposed confidentiality
   order … has been agreed to by counsel for creditors Sagi Genger, Arie Genger, Dalia
   Genger, the Orly Genger 1993 Trust, and D&K GP LLC.” As the Court can see from the
   proposed confidentiality order filed at ECF No. 244-1, that document was in fact signed by
   counsel of record for each of those parties, including Deborah Williamson, Arie’s counsel
   for record while the case was in Texas. While Mr. Oswald is correct that the Texas version
   of the proposed confidentiality order was never so-ordered (we never said otherwise), at
   the October 23, 2020 hearing Judge Davis did direct that signatories to “the confidentiality
   agreement … should have access … to the documents, [on] whatever terms the
   confidentiality agreement are….” 10.23.19 Tr. at 21:14-19.1


   1
           While the case was in Texas, the Debtor, her husband, and Arie initially took the
   position that even the Court--let alone the parties--should not be allowed to see any of the
   materials marked “Confidential,” a position Judge Davis was finally called upon to, and
   did, resolve at the October 23, 2019 hearing as quoted above. See, e.g., Doc. 70 at 1 (E.
   Herschmann’s Notice Regarding Supplemental Information Filed Under Seal, arguing that
   confidential materials “should not be considered or reviewed by the Court in connection
   with any pending matter”); accord Docs. 66 at 1 (Orly), 67 at 1 (Arie).



                            NEW YORK, NEW YORK • MORRISTOWN, NEW JERSEY
19-13895-jlg    Doc 256     Filed 06/05/20 Entered 06/05/20 19:15:19            Main Document
                                         Pg 2 of 2

   EMMET, MARVIN & MARTIN,   LLP                                                             2


           Thereafter, since the case was transferred to this District, we have refrained from
   circulation of any of the confidential materials to counsel of record in New York until such
   time as Your Honor enters the new Protective Order.

           We note that, prior to submitting the new Protective Order to Your Honor, Mr.
   Oswald was afforded several days to comment and object to the proposed Protective Order,
   but he did not do so. We thus believe that the current proposed Protective Order represents
   the parties’ agreement and should be entered.

          We thank the Court for its consideration.

                                                 Sincerely,



                                                 John Dellaportas

   cc:    All Counsel of Record (via ECF)
